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FACT SHEET: VESSELS OF OPPORTUNITY


A key feature of BP’s response to the Gulf oil spill is the growing contingent of fishermen
and boaters from communities along the Gulf shoreline participating in BP’s "Vessel of
Opportunity" program.

As part of the effort, operators of many types of vessels throughout the Gulf Coast are
using their boats in a variety of clean-up activities, including transporting supplies,
performing wildlife rescue, and towing and deploying “booms” (floating barriers designed
to contain, deflect, or hold back oil floating on the water’s surface).

Already more than 1,000 people have received training in such areas as oil spill
response safety and boom towing and handling, and vessels are being organized in 25-
boat “task forces” that can be dispatched from numerous spots along the coast. More
than 500 vessels of opportunity are now operating as part of the program.

BP employees are also participating in the program, providing assistance in areas such
as communications and safety. Contractors from O'Brien's Response Management, a
global provider of crisis management services, are also taking part in the program.

To qualify for the program, operators need to meet several key requirements, including
attending a four-hour training session, passing a dockside examination by the U.S.
Coast Guard, and meeting crewing requirements based on the size of the vessel
provided.

Eligible vessels will be compensated for their assistance.

Applicants interested in taking part in the program should call this BP hotline number: +1
(281) 366-5511.




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